                   Case 25-90023 Document 1 Filed in TXSB on 03/03/25 Page 1 of 116
Debtor      DocuData Solutions, L.C.                                                Case number (if known)
           Name




Fill in this information to identify the case:

United States Bankruptcy Court for the:
                           Southern District of Texas
                                          (State)                                                                                ☐Check if this is an
Case number (if known):                                    Chapter        11                                                        amended filing



Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         06/24

      If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name
      and the case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-
      Individuals, is available.



1.   Debtor’s Name                     DocuData Solutions, L.C.



2. All other names debtor used
   in the last 8 years

     Include any assumed names,
     trade names, and doing
     business as names

3. Debtor’s federal Employer
   Identification Number (EIN)         XX-XXXXXXX                                             _______________________________________________


4. Debtor’s address                    Principal place of business                                Mailing address, if different from principal place
                                                                                                  of business
                                       2701 E. Grauwyler Road
                                          Number         Street                                   Number          Street




                                       Irving                          Texas      75061
                                          City                          State     Zip Code        City                          State     Zip Code

                                                                                                  Location of principal assets, if different from
                                                                                                  principal place of business
                                          Dallas
                                          County                                                  Number          Street




                                                                                                  City                          State     Zip Code




5. Debtor’s website (URL)                 http://www.exelatech.com

6.   Type of debtor                        ☒Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                           ☐Partnership (excluding LLP)

                                           ☐Other. Specify:




     Official Form 201                       Voluntary Petition for Non-Individuals Filing for Bankruptcy                                        page 1
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Debtor        DocuData Solutions, L.C.                                            Case number (if known)
            Name



                                            A. Check One:
7.   Describe debtor’s business
                                            ☐ Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                            ☐ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                            ☐ Railroad (as defined in 11 U.S.C. § 101(44))

                                            ☐ Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                            ☐ Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                            ☐ Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                            ☒ None of the above

                                            B. Check all that apply:
                                             ☐ Tax-exempt entity (as described in 26 U.S.C. § 501)

                                             ☐ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                               § 80a-3)
                                             ☐ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                            C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                               http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                               5416 (Management, Scientific, and Technical Consulting Services)

8. Under which chapter of the               Check One:
   Bankruptcy Code is the                   ☐ Chapter 7
   debtor filing?
                                            ☐ Chapter 9

                                            ☒ Chapter 11. Check all that apply:
A debtor who is a “small business
debtor” must check the first sub-box.                  ☐ Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or
A debtor as defined in § 1182(1) who                     affiliates) are less than $3,024,725 (amount subject to adjustment on 4/01/25 and every 3 years
elects to proceed under subchapter                       after that).
V of chapter 11 (whether or not the
debtor is a “small business debtor”)                   ☐ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a
must check the second sub-box.                          small business debtor, attach the most recent balance sheet, statement of operations, cash-
                                                        flow statement, and federal income tax return or if all of these documents do not exist, follow
                                                        the procedure in 11 U.S.C. § 1116(1)(B).
                                                       ☐ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it chooses to
                                                         proceed under Subchapter V of Chapter 11.A plan is being filed with this petition.
                                                       ☐ Acceptances of the plan were solicited prepetition from one or more classes of
                                                         creditors, in accordance with 11 U.S.C. § 1126(b).
                                                       ☐ The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities
                                                         and Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934.
                                                         File the Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under
                                                         Chapter 11 (Official Form 201A) with this form.
                                                       ☐ The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.

                                             ☐ Chapter 12

9. Were prior bankruptcy cases           ☒ No
   filed by or against the debtor        ☐ Yes    District                         When                       Case number
   within the last 8 years?                                                                  MM/DD/YYYY
     If more than 2 cases, attach a               District                         When                       Case number
     separate list.                                                                          MM/DD/YYYY

10. Are any bankruptcy cases             ☐ No
    pending or being filed by a          ☒ Yes    Debtor                                                      Relationship
    business partner or an                                   See Attached Rider 1
    affiliate of the debtor?                      District
     List all cases. If more than 1,                                                                          When:           3/03/2025
     attach a separate list.                                                                                                  MM / DD / YYYY
                                                  Case number, if known _______________________



     Official Form 201                     Voluntary Petition for Non-Individuals Filing for Bankruptcy                                        page 2
                   Case 25-90023 Document 1 Filed in TXSB on 03/03/25 Page 3 of 116
Debtor     DocuData Solutions, L.C.                                                 Case number (if known)
          Name



11. Why is the case filed in this      Check all that apply:
    district?
                                            ☒ Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                            immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                            district.
                                            ☐ A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or have          ☒ No
    possession of any real               ☐ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property or personal property
    that needs immediate                           Why does the property need immediate attention? (Check all that apply.)
    attention?
                                                   ☐   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                       safety.
                                                       What is the
                                            hazard?

                                                   ☐    It needs to be physically secured or protected from the weather.

                                                   ☐   It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                       attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                       assets or other options).
                                                   ☐   Other


                                                   Where is the property?
                                                                                     Number          Street



                                                                                     City                                  State       Zip Code



                                                   Is the property insured?
                                                    ☐ No

                                                    ☐ Yes. Insurance agency

                                                             Contact name
                                                             Phone




                     Statistical and administrative information

13. Debtor's estimation of            Check one:
    available funds
                                       ☒ Funds will be available for distribution to unsecured creditors.
                                       ☐ After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

14. Estimated number of                     ☐1-49                             ☒1,000-5,000                           ☐25,001-50,000
    creditors*                              ☐50-99                            ☐5,001-10,000                          ☐50,001-100,000
*Consolidated for all                       ☐100-199                          ☐10,001-25,000                         ☐More than 100,000
Debtors.                                    ☐200-999

15. Estimated assets*                       ☐$0-$50,000                       ☐$1,000,001-$10 million                ☒$500,000,001-$1 billion
                                            ☐$50,001-$100,000                 ☐$10,000,001-$50 million               ☐$1,000,000,001-$10 billion
*Consolidated for all
Debtors.                                    ☐$100,001-$500,000                ☐$50,000,001-$100 million              ☐$10,000,000,001-$50 billion
                                            ☐$500,001-$1 million              ☐$100,000,001-$500 million             ☐More than $50 billion

16. Estimated liabilities*                 ☐$0-$50,000                        ☐$1,000,001-$10 million               ☐$500,000,001-$1 billion
                                           ☐$50,001-$100,000                  ☐$10,000,001-$50 million              ☒$1,000,000,001-$10 billion
*Consolidated for all
Debtors.                                   ☐$100,001-$500,000                 ☐$50,000,001-$100 million             ☐$10,000,000,001-$50 billion
                                           ☐$500,001-$1 million               ☐$100,000,001-$500 million            ☐More than $50 billion

   Official Form 201                       Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 3
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Debtor     DocuData Solutions, L.C.                                                  Case number (if known)
         Name



                 Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of      •      The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
    authorized representative of             petition.
    debtor
                                      •      I have been authorized to file this petition on behalf of the debtor.
                                      •      I have examined the information in this petition and have a reasonable belief that the information is true
                                             and correct.

                                          I declare under penalty of perjury that the foregoing is true and correct.

                                      Executed on            3/03/2025
                                                             MM/ DD / YYYY


                                              /s/ Matt Brown                                              Matt Brown
                                             Signature of authorized representative of debtor              Printed name

                                             Title    Interim Chief Financial Officer




18. Signature of attorney                    /s/ Timothy A. Davidson II                                   Date         3/03/2025
                                             Signature of attorney for debtor                                          MM/DD/YYYY



                                             Timothy A. Davidson II

                                             Hunton Andrews Kurth LLP
                                             Firm name
                                             600 Travis Street, Suite 4200
                                             Number                   Street
                                             Houston                                                               TX               77002
                                             City                                                                 State              ZIP Code
                                             (713) 220-4200                                                       taddavidson@hunton.com
                                             Contact phone                                                            Email address
                                             24012503                                             TX
                                             Bar number                                          State




   Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                            page 4
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         Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

On the date hereof, each of the affiliated entities listed below (including the debtor in this
chapter 11 case, collectively, the “Debtors”) filed a voluntary petition for relief under chapter 11
of title 11 of the United States Code in the United States Bankruptcy Court for the Southern District
of Texas. Contemporaneously with the filing of their voluntary petitions, the Debtors are filing a
motion with the Court requesting that their chapter 11 cases be consolidated for procedural
purposes only and jointly administered.


                       Entity Name                            Federal Employee Identification
                                                                      Number (EIN)

  BancTec (Canada), Inc.                                                    N/A
  BancTec (Puerto Rico), Inc.                                            XX-XXXXXXX
  BancTec Group LLC                                                      XX-XXXXXXX
  BancTec Intermediate Holding, Inc.                                     XX-XXXXXXX
  BancTec, Inc.                                                          XX-XXXXXXX
  BTC Ventures, Inc.                                                     XX-XXXXXXX
  Charter Lason, Inc.                                                    XX-XXXXXXX
  CorpSource Holdings, LLC                                                  N/A
  Deliverex, LLC                                                         XX-XXXXXXX
  DFG2 Holdings, LLC                                                     XX-XXXXXXX
  DFG2, LLC                                                              XX-XXXXXXX
  DocuData Solutions, L.C.                                               XX-XXXXXXX
  Economic Research Services, Inc.                                       XX-XXXXXXX
  Exela Enterprise Solutions, Inc.                                       XX-XXXXXXX
  Exela Finance Inc.                                                     XX-XXXXXXX
  Exela Intermediate LLC                                                 XX-XXXXXXX
  Exela RE LLC                                                           XX-XXXXXXX
  Exela Technologies BPA, LLC                                            XX-XXXXXXX
  Exela XBP, LLC                                                         XX-XXXXXXX
  FTS Parent Inc.                                                        XX-XXXXXXX
  HOV Enterprise Services, Inc.                                          XX-XXXXXXX
  HOV Services, Inc.                                                     XX-XXXXXXX
  HOV Services, LLC                                                      XX-XXXXXXX
  HOVG, LLC                                                              XX-XXXXXXX
  J & B Software, Inc.                                                   XX-XXXXXXX
  Kinsella Media LLC                                                     XX-XXXXXXX
  Lason International, Inc.                                              XX-XXXXXXX
  Managed Care Professionals, LLC                                        XX-XXXXXXX
  Meridian Consulting Group, LLC                                         XX-XXXXXXX
  Neon Acquisition, LLC                                                  XX-XXXXXXX
  Novitex Enterprise Solutions Canada, Inc.                                 N/A
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                  Entity Name                Federal Employee Identification
                                                     Number (EIN)

Novitex Government Solutions, LLC                      XX-XXXXXXX
Novitex Holdings, Inc.                                 XX-XXXXXXX
Novitex Intermediate, LLC                              XX-XXXXXXX
Pangea Acquisitions Inc.                               XX-XXXXXXX
Plexus Global Finance, LLC                             XX-XXXXXXX
RC4 Capital, LLC                                       XX-XXXXXXX
Recognition Mexico Holding Inc.                        XX-XXXXXXX
Regulus America LLC                                    XX-XXXXXXX
Regulus Group II LLC                                   XX-XXXXXXX
Regulus Group LLC                                      XX-XXXXXXX
Regulus Holding Inc.                                   XX-XXXXXXX
Regulus Integrated Solutions LLC                       XX-XXXXXXX
Regulus West LLC                                       XX-XXXXXXX
Rust Consulting, Inc.                                  XX-XXXXXXX
Rustic Canyon III, LLC                                    N/A
Services Integration Group, L.P.                       XX-XXXXXXX
SIG-GP, L.L.C.                                            N/A
SOURCECORP BPS Inc.                                    XX-XXXXXXX
SOURCECORP Legal Inc.                                  XX-XXXXXXX
SOURCECORP Management, Inc.                            XX-XXXXXXX
SOURCECORP, Incorporated                               XX-XXXXXXX
SourceHOV Canada Company                                  N/A
SourceHOV Healthcare, Inc.                             XX-XXXXXXX
SourceHOV Holdings, Inc.                               XX-XXXXXXX
SOURCEHOV LLC                                          XX-XXXXXXX
TRAC Holdings, LLC                                     XX-XXXXXXX
TransCentra, Inc.                                      XX-XXXXXXX
United Information Services, Inc.                      XX-XXXXXXX
XCV-EMEA, LLC                                          XX-XXXXXXX
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                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

                                                  )
 In re:                                           )     Chapter 11
                                                  )
 DocuData Solutions, L.C.,                        )     Case No. 25-___________(___)
                                                  )
                                                  )
                         Debtor.                  )
                                                  )

                           CORPORATE OWNERSHIP STATEMENT

          Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure,

the following are corporations, other than a government unit, that directly or indirectly own 10%

or more of any class of the debtor’s equity interest:

                                                         Approximate Percentage of Equity
               Equity Interest Holder
                                                                 Interests Held

 BancTec, Inc.                                                          100%
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                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

                                                  )
 In re:                                           )       Chapter 11
                                                  )
 DocuData Solutions, L.C.,                        )       Case No. 25-___________(___)
                                                  )
                                                  )
                         Debtor.                  )
                                                  )

                           LIST OF EQUITY SECURITY HOLDERS

          Pursuant to Rule 1007(a)(3) of the Federal Rules of Bankruptcy Procedure, the above-

captioned debtor and debtor in possession (the “Debtor”) respectfully represents that the following

is the list of holders of the Debtor’s sole class of equity or membership interests:

          ☐ There are no equity security holders or corporations that directly or indirectly own
          10% or more of any class of the Debtor’s equity interest.

          ☒ The following are the Debtor’s equity security holders (list holders of each class,
          showing the number and kind of interests registered in the name of each holder, and the
          last known address or place of business of each holder):
  Name and Last Known Address of Place of      Kind/Class of Interest    Percentage of Interests Held
            Business of Holder
               BancTec, Inc.
          2701 E. Grauwyler Road                      LLC Interests                    100%
            Irving, Texas 75061
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   Fill in this information to identify the case and this filing:

   Debtor Name DocuData Solutions, L.C.

   United States Bankruptcy Court for the:                  Southern District of Texas
                                                                                                    (State)
   Case number (If known):



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                          12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in
the document, and any amendments of those documents. This form must state the individual’s position or relationship to the
debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property
by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18
U.S.C. §§ 152, 1341, 1519, and 3571.



             Declaration and signature

          I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
          partnership; or another individual serving as a representative of the debtor in this case.

          I have examined the information in the documents checked below and I have a reasonable belief that the information is true
          and correct:

      ☐     Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
      ☐     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
      ☐     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
      ☐     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
      ☐     Schedule H: Codebtors (Official Form 206H)
      ☐     Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
      ☐     Amended Schedule ____
      ☒     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders
            (Official Form 204)
      ☒     Other document that requires a declaration Corporate Ownership Statement and List of Equity Security Holders
    I declare under penalty of perjury that the foregoing is true and correct.

     Executed on
                                                                                    /s/ Matt Brown
                                         3/03/2025
                                         MM/ DD/YYYY                               Signature of individual signing on behalf of debtor
                                                                                   Matt Brown
                                                                                   Printed name
                                                                                   Interim Chief Financial Officer
                                                                                   Position or relationship to debtor




Official Form 202                              Declaration Under Penalty of Perjury for Non-Individual Debtors
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                                                                                       Execution Version

                               UNANIMOUS WRITTEN CONSENT OF
                                  THE APPROVING PARTY OF
                                EACH COMPANY LISTED BELOW

                                              March 3, 2025

         The undersigned, being (a) all members of the board of directors or the board of managers, as
applicable, (b) the general partner and limited partner (in the case of Services Integration Group, L.P.), or
(c) the sole member or shareholder, as applicable (in each case, an “Approving Party” and, collectively, the
“Approving Parties”), of the following corporations, limited partnership, company, limited company, and
limited liability companies:

        (1)      BancTec (Canada), Inc., an Ontario corporation;
        (2)      BancTec (Puerto Rico), Inc., a Delaware corporation;
        (3)      BancTec Group LLC, a Delaware limited liability company;
        (4)      BancTec Intermediate Holding, Inc., a Delaware corporation;
        (5)      BancTec, Inc., a Delaware corporation;
        (6)      BTC Ventures, Inc., a Delaware corporation;
        (7)      Charter Lason, Inc., a Delaware corporation;
        (8)      CorpSource Holdings, LLC, a Delaware limited liability company;
        (9)      Deliverex, LLC, a Delaware limited liability company;
        (10)     DFG2 Holdings, LLC, a Delaware limited liability company;
        (11)     DFG2, LLC, a Delaware limited liability company;
        (12)     DocuData Solutions, L.C., a Texas limited liability company;
        (13)     Economic Research Services, Inc., a Florida corporation,
        (14)     Exela Enterprise Solutions, Inc., a Delaware corporation;
        (15)     Exela Finance Inc., a Delaware corporation;
        (16)     Exela Intermediate LLC, a Delaware limited liability company;
        (17)     Exela RE LLC, a Delaware limited liability company;
        (18)     Exela Technologies BPA, LLC, a Delaware limited liability company;
        (19)     Exela XBP, LLC, a Delaware limited liability company;
        (20)     FTS Parent Inc., a Delaware limited liability company;
        (21)     HOV Enterprise Services, Inc., a New Jersey corporation;
        (22)     HOV Services, Inc., a Delaware corporation;
        (23)     HOV Services, LLC, a Nevada limited liability company;
        (24)     HOVG, LLC, a Nevada limited liability company;
        (25)     J & B Software, Inc., a Pennsylvania corporation;
        (26)     Kinsella Media LLC, a Delaware limited liability company;
        (27)     Lason International, Inc., a Delaware corporation;


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        (28)    Managed Care Professionals, LLC, a Delaware limited liability company;
        (29)    Meridian Consulting Group, LLC, a Nevada limited liability company;
        (30)    Neon Acquisition, LLC, a Delaware limited liability company;
        (31)    Novitex Enterprise Solutions Canada, Inc., an Ontario corporation;
        (32)    Novitex Government Solutions, LLC, a Delaware limited liability company;
        (33)    Novitex Holdings, Inc., a Delaware corporation;
        (34)    Novitex Intermediate, LLC, a Delaware limited liability company;
        (35)    Pangea Acquisitions Inc., a Delaware corporation;
        (36)    Plexus Global Finance, LLC, a Delaware limited liability company;
        (37)    RC4 Capital, LLC, a Delaware limited liability company;
        (38)    Recognition Mexico Holding Inc., a Delaware corporation;
        (39)    Regulus America LLC, a Delaware limited liability company;
        (40)    Regulus Group II LLC, a Delaware limited liability company;
        (41)    Regulus Group LLC, a Delaware limited liability company;
        (42)    Regulus Holding Inc., a Delaware corporation;
        (43)    Regulus Integrated Solutions LLC, a Delaware limited liability company;
        (44)    Regulus West LLC, a Delaware limited liability company;
        (45)    Rust Consulting, Inc., a Minnesota corporation;
        (46)    Rustic Canyon III, LLC, a Delaware limited liability company;
        (47)    Services Integration Group, L.P., a Delaware limited partnership;
        (48)    SIG-GP, L.L.C., a Delaware limited liability company;
        (49)    SOURCECORP BPS Inc., a Delaware corporation;
        (50)    SOURCECORP Legal Inc., a Delaware corporation;
        (51)    SOURCECORP Management, Inc., a Texas corporation;
        (52)    SOURCECORP, Incorporated, a Delaware corporation;
        (53)    SourceHOV Canada Company, a Nova Scotia unlimited company;
        (54)    SourceHOV Healthcare, Inc., a South Carolina corporation;
        (55)    SourceHOV Holdings, Inc., a Delaware corporation;
        (56)    SOURCEHOV LLC, a Delaware limited liability company;
        (57)    TRAC Holdings, LLC, a Delaware limited liability company;
        (58)    TransCentra, Inc., a Delaware company;
        (59)    United Information Services, Inc., an Iowa corporation; and
        (60)    XCV-EMEA, LLC, a Delaware limited liability company
(each such entity, a “Filing Entity” and, collectively, the “Filing Entities”), do hereby consent to, adopt
and approve, ratify, and confirm by unanimous written consent, in each case pursuant to and in accordance

                                                    2
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with (a) the provisions of such Filing Entity’s (i) certificate of incorporation, articles of incorporation,
association, amalgamation, or continuance, certificate of formation, memorandum of association, or other
incorporation or formation document, as applicable, and (ii) bylaws, limited liability company agreement,
limited company agreement, limited partnership agreement, unanimous shareholder agreement, or other
operating agreement or document, as applicable, and (b) the applicable provisions of (i) the General
Corporation Law of the State of Delaware, (ii) the Limited Liability Company Act of the State of Delaware,
(iii) the Business Corporation Act of the State of Texas, (iv) the Business Corporations Act (Ontario), (v)
the Texas Limited Liability Company Act, (vi) the Florida Business Corporation Act, (vii) the New Jersey
Business Corporation Act, (viii) the Nevada Limited Liability Company Act, (ix) the Pennsylvania Business
Corporation Law of 1988, (x) the Minnesota Business Corporation Act, (xi) the Companies Act (Nova
Scotia), (xii) the South Carolina Business Corporation Act of 1988, (xiii) the Iowa Business Corporation
Act, (xiv) the Delaware Revised Uniform Partnership Act, and (xv) any other corporate or business statute,
as applicable, the following resolutions and authorize the taking of all actions contemplated thereby, as
applicable (this “Written Consent”):

                                              Chapter 11 Cases

WHEREAS, each of the Filing Entities is a direct or indirect wholly owned subsidiary of Exela
Technologies, Inc., a Delaware corporation (“ETI”);

WHEREAS, each of the undersigned directors, managers, general partners, shareholders, limited partners,
members, and other duly authorized persons (each, a “Principal” and, collectively, the “Principals”) of the
Filing Entities has had the opportunity to consult with management and the legal and financial advisors of
such Filing Entity to fully consider, and has considered, the restructuring and strategic alternatives available
to such Filing Entity and the impact of the foregoing on such Filing Entity’s business; and

WHEREAS, each of the Principals has reviewed and evaluated proposed restructuring transactions
involving the Filing Entities.

NOW, THEREFORE, BE IT RESOLVED, that in the judgment of each of the Principals, it is desirable
and in the best interests of each of the Filing Entities, their creditors, and other interested parties, that each
Approving Party authorize that the Filing Entities seek relief under the provisions of chapter 11 of title 11 of
the United States Code (the “Bankruptcy Code”);

FURTHER RESOLVED, that each Filing Entity is hereby authorized, and each Authorized Officer (as
defined below) shall be, and hereby is, authorized and directed on behalf of each Filing Entity to commence
a case under chapter 11 of the Bankruptcy Code (a “Chapter 11 Case”) by executing, verifying and
delivering a voluntary petition in the name of such Filing Entity under Chapter 11 of the Bankruptcy Code
and causing the same to be filed with the United States Bankruptcy Court for the Southern District of Texas
(the “Bankruptcy Court”) in such form and at such time as the Authorized Officer executing said petition
shall determine;

FURTHER RESOLVED, that each Filing Entity is hereby authorized, and each Authorized Officer shall
be, and hereby is, authorized and directed on behalf of such Filing Entity, to seek to have its Chapter 11
Case jointly administered by the Bankruptcy Court with the separate cases commenced by the Filing
Entities under Chapter 11 of the Bankruptcy Code (each respective Chapter 11 Case, together with such
other Chapter 11 Cases, the “Chapter 11 Cases”);

FURTHER RESOLVED, that each Filing Entity is hereby authorized, and each Authorized Officer shall
be, and hereby is, authorized and empowered, on behalf of and in the name of such Filing Entity, to the
extent applicable, to enter into any restructuring support agreement or similar agreements entered into in

                                                        3
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connection with the Chapter 11 Cases and to enter into any agreements, documents, or instruments related
thereto;

FURTHER RESOLVED, that each Filing Entity is hereby authorized, and each Authorized Officer shall
be, and hereby is, authorized and empowered, with full power of delegation, on behalf of and in the name of
such Filing Entity, to execute, verify and/or file, or cause to be filed and/or executed or verified (or direct
others to do so on their behalf as provided herein), and to amend, supplement or otherwise modify from time
to time, all documents reasonably necessary to effectuate the terms of the restructuring detailed in the
restructuring term sheet (the “Restructuring Term Sheet”) presented to the Principals on or before the date
hereof, including without limitation, a plan of reorganization, disclosure statement, and related documents
consistent with the terms of the Restructuring Term Sheet;

FURTHER RESOLVED, that each Filing Entity is hereby authorized, and each Authorized Officer shall
be, and hereby is, authorized and empowered, with full power of delegation, on behalf of and in the name of
such Filing Entity, to execute, verify and/or file, or cause to be filed and/or executed or verified (or direct
others to do so on their behalf as provided herein), and to amend, supplement or otherwise modify from time
to time, all necessary or appropriate documents, including, without limitation, petitions, affidavits,
schedules, motions, lists, applications, pleadings and other documents, agreements and papers, including all
credit documents, and to take any and all actions that each Authorized Officer deems necessary or
appropriate, each in connection with the Chapter 11 Cases;

FURTHER RESOLVED, that each Filing Entity is hereby authorized, and each Authorized Officer shall
be, and hereby is, authorized and empowered, on behalf of and in the name of such Filing Entity, to the
extent applicable, to obtain debtor-in-possession financing and/or the use of cash collateral, in such amounts
and on such terms as may be agreed by any Authorized Officer, including the grant of replacement liens,
as is reasonably necessary for the continuing affairs of such Filing Entity; and

FURTHER RESOLVED, that the Filing Entities are hereby authorized, and each Authorized Officer shall
be, and hereby is, authorized and empowered, on behalf of and in the name of the applicable Filing Entity,
to enter into such forbearance agreements, waivers, amendments or modifications, or other supplements
relating to the Filing Entities’ existing indebtedness as may be deemed necessary or appropriate by such
Authorized Officer.

                                       Chief Restructuring Officer

WHEREAS, the applicable Approving Parties (the “CRO Approving Parties”) with respect to Exela
Technologies BPA, LLC, Exela Intermediate LLC, Exela Finance Inc., XCV-EMEA, LLC, and Neon
Acquisition, LLC (collectively, the “CRO Entities”) believe that it is advisable and in the best interests of
each CRO Entity to appoint (i) Randall S. Eisenberg as Chief Restructuring Officer and (ii) Steve Spitzer
as Deputy Chief Restructuring Officer, in each case, with the roles and responsibilities as described in the
engagement letter between AP Services, LLC and the CRO Entities, dated on or about March 3, 2025 (the
“CRO Engagement Letter”).

NOW, THEREFORE, BE IT RESOLVED, that each CRO Approving Party, as applicable, hereby
appoints Randall S. Eisenberg as Chief Restructuring Officer (the “CRO”) and Steve Spitzer as Deputy
Chief Restructuring Officer (the “Deputy CRO”) of the applicable CRO Entity for which it serves as the
Approving Party;

FURTHER RESOLVED, that each CRO Approving Party, as applicable, hereby authorizes and approves
in all respects (i) the form, terms, and provisions of the CRO Engagement Letter; (ii) the execution and


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delivery by the CRO Entity for which it serves as the Approving Party of the CRO Engagement Letter; and
(c) the performance by such CRO Entity of its duties and obligations hereunder;

FURTHER RESOLVED, that the CRO and the Deputy CRO are each authorized and directed to perform
all acts and deeds and to execute and deliver all necessary documents on behalf of each CRO Entity in
accordance with the scope outlined in the CRO Engagement Letter; and

FURTHER RESOLVED, that the CRO and the Deputy CRO shall report to each CRO Approving Party
or other officers, as directed by the applicable CRO Approving Party and, at the request of a CRO
Approving Party, shall make recommendations to and consult with such CRO Approving Party.

                                           Receivables Programs

WHEREAS, certain Filing Entities and certain of their affiliates who are not Filing Entities are party to
securitization programs, accounts receivable facilities, and similar structured financial arrangements
(collectively, the “Securitization Programs”), including (a) the securitization program (the “PNC
Securitization Program”) governed by various documents, including that certain receivables purchase
agreement, dated as of June 17, 2022 among Exela Receivables 3 LLC, as seller, Exela Receivables 3
Holdco, LLC, as pledgor, Exela Technologies, Inc., as initial servicer, PNC Bank, National Association, as
administrative agent, and the purchasers party thereto and (b) the securitization program (the “Rust
Securitization Program”) governed by various documents, including that certain receivables purchase
agreement, dated as of February 12, 2024, as amended from time to time, among Rust Consulting, Inc.,
Banctec (Canada), Inc. Novitex Enterprise Solutions Canada, Inc. / Solutions D’Enterprise Novitex Canada,
Inc., HOVG, LLC and SourceHOV Canada Company, originators, Exela BR SPV, LLC, as seller and BR
EXAR, LLC; and

WHEREAS, each applicable Approving Party has determined that it is in the best interests of the applicable
Filing Entities to (i) consummate transactions (the “Receivables Transactions”) in connection with the
PNC Securitization Program, the Rust Securitization Program, and the other Securitization Programs as
necessary to provide the Filing Entities sufficient liquidity during the Chapter 11 Cases, (ii) enter into,
deliver and perform their respective obligations under any and all agreements, documents, amendments,
instruments, certificates, acknowledgments, statements, and papers as may be contemplated by or entered
into in connection with the Receivables Transactions (including, without limitation, payoff letters,
intercreditor agreements, consents to assignment, subordination agreements, interest rate protection and
other hedging agreements, letters of credit and master letter of credit agreements, promissory notes,
guaranties, security and pledge agreements, cash management agreements, assignments, collateral
assignments, fee letters, engagement letters, commitment letters and other customary loan documents, third
party collateral access agreements, insurance certificates, bailee letters, deposit account control agreements,
securities account control agreements, Uniform Commercial Code financing statements and any applicable
Canadian provincial personal property financing statements, registrations, mortgages, deeds of trust,
warehouse notifications, collateral assignments, and other customary secured loan documents)
(collectively, the “Receivables Documents”) and any amendments, restatements, modifications and
supplements to any of the foregoing, on such terms and conditions as any Authorized Officer, acting alone,
deems to be in the best interests of the applicable Filing Entities, and (iii) authorize the payment of all fees
and expenses in accordance with the Receivables Documents.

NOW, THEREFORE, BE IT RESOLVED, that the Receivables Transactions are in all respects
authorized, approved and ratified and that any Authorized Officer is authorized and empowered to
(i) execute and deliver or cause to be executed and delivered, and the secretary or any other Authorized
Officer of each applicable Filing Entity is authorized to attest to such execution or delivery of, in the name
of and on behalf of each Filing Entity, the Receivables Documents and any other document related to the

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consummation of the Receivables Transactions, any amendments, restatements, modifications or
supplements to any of the foregoing and any and all additional documents and certificates to be executed
and delivered in connection with the Receivables Transactions, (ii) perform or cause to be performed on
behalf of each applicable Filing Entity, all of the obligations and exercise all of the rights thereunder on
such terms and conditions as any Authorized Officer deems to be in the best interests of each applicable
Filing Entity, and (iii) to pay all fees and expenses in accordance with the Receivables Documents;

FURTHER RESOLVED, that any Authorized Officer is hereby authorized and empowered, in the name
and on behalf of each applicable Filing Entity, to negotiate, execute and deliver the Receivables Documents
(including, without limitation, any borrowing request and any letter of credit requests), take all actions
(including, without limitation, the expenditure of funds) deemed by such Authorized Officer to be necessary
or appropriate to the performance of any Filing Entity’s obligations or the exercise of such Filing Entity’s
rights pursuant to the Receivables Documents, including, without limitation, entrance into amendments,
restatements, modifications or supplements thereto, on such terms and conditions with such changes as any
Authorized Officer may by his or her execution and delivery thereof deem to be in the best interests of each
Filing Entity with such negotiation, execution and delivery of the Receivables Documents or any other
documents to be conclusive evidence that the form, terms and provisions thereof have been approved by
the Principals of the Filing Entities;

FURTHER RESOLVED, that, the incurrence of indebtedness and the execution and filing of documents
and agreements in connection therewith are hereby authorized, approved and adopted, as applicable; and

FURTHER RESOLVED, that any and all agreements, instruments, certificates or documents heretofore
executed and acts heretofore undertaken in connection with the Receivables Transactions approved by these
resolutions and any other transactions contemplated by the Receivables Documents are hereby ratified,
confirmed, approved and adopted in all respects, and these resolutions have not been modified, rescinded
or amended and are in full force and effect.

                                         DIP Credit Agreement

WHEREAS, the Principals have determined that it is in the best interests of each Filing Entity (i) to
consummate the transactions (the “DIP Transactions”) contemplated by that certain Debtor-in-Possession
Credit Agreement, to be dated on or about March 3, 2025, by and among Exela Finance, Inc. and Exela
Intermediate LLC, as borrowers, each Filing Entity, as a guarantor, the other guarantors from time to time
party thereto, the lenders party thereto, and Ankura Trust Company, LLC, as administrative agent and
collateral agent (the “DIP Credit Agreement”), (ii) to enter into, deliver and perform its obligations under
the DIP Credit Agreement and any and all agreements, documents, instruments, certificates,
acknowledgments, statements, and papers as may be contemplated by or entered into in connection with
the DIP Credit Agreement (including, without limitation, payoff letters, intercreditor agreements, consents
to assignment, subordination agreements, interest rate protection and other hedging agreements, letters of
credit and master letter of credit agreements, promissory notes, guaranties, security and pledge agreements,
cash management agreements, assignments, collateral assignments, fee letters, engagement letters,
commitment letters and other customary loan documents, third party collateral access agreements,
insurance certificates, bailee letters, deposit account control agreements, securities account control
agreements, Uniform Commercial Code financing statements and any applicable Canadian provincial
personal property financing statements, mortgages, deeds of trust, warehouse notifications, collateral
assignments, and other customary secured loan documents) (together with the DIP Credit Agreement,
collectively, the “DIP Loan Documents”) and any amendments, restatements, modifications and
supplements to any of the foregoing, on such terms and conditions as any Authorized Officer, acting alone,
deems to be in the best interests of each Filing Entity, and (iii) to authorize the payment of all fees and
expenses in accordance with the DIP Loan Documents.

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NOW, THEREFORE, BE IT RESOLVED, that the DIP Transactions are in all respects authorized,
approved and ratified and that any Authorized Officer is authorized and empowered (i) to execute and
deliver or cause to be executed and delivered, and the secretary or any other Authorized Officer of the
relevant Filing Entity is authorized to attest to such execution or delivery of, in the name of and on behalf
of such Filing Entity, the DIP Credit Agreement, any other DIP Loan Documents and any other document
related to the consummation of the DIP Transactions, any amendments, restatements, modifications or
supplements to any of the foregoing and any and all additional documents and certificates to be executed
and delivered in connection with the DIP Transactions, (ii) to perform or cause to be performed on behalf
of each Filing Entity, all of the obligations and exercise all of the rights thereunder on such terms and
conditions as any Authorized Officer deems to be in the best interests of each Filing Entity, and (iii) to pay
all fees and expenses in accordance with the DIP Loan Documents;

FURTHER RESOLVED, that any Authorized Officer is hereby authorized and empowered, in the name
and on behalf of the relevant Filing Entity, to negotiate, execute and deliver the DIP Credit Agreement and
the other DIP Loan Documents (including, without limitation, any borrowing request and any letter of credit
requests), take all actions (including, without limitation, the expenditure of funds) deemed by such
Authorized Officer to be necessary or appropriate to the performance of such Filing Entity’s obligations or
the exercise of such Filing Entity’s rights pursuant to the DIP Credit Agreement and the other DIP Loan
Documents, including, without limitation, entrance into amendments, restatements, modifications or
supplements thereto, on such terms and conditions with such changes as any Authorized Officer may by
his or her execution and delivery thereof deem to be in the best interests of the relevant Filing Entity with
such negotiation, execution and delivery of the DIP Credit Agreement and the other DIP Loan Documents
or any other documents to be conclusive evidence that the form, terms and provisions thereof have been
approved by the Principals of the Filing Entities;

FURTHER RESOLVED, that the incurrence of indebtedness, any guarantee of indebtedness, the grant of
security interests and pledges by each Filing Entity as contemplated in the DIP Loan Documents, and any
additional liens pursuant to any additional mortgage agreements, security agreements, pledge agreements
or deeds of trust that the DIP Credit Agreement may require, and the execution and filing of documents,
agreements, financing statements, mortgages and instruments in connection therewith, are hereby
authorized, approved, and adopted, as applicable;

FURTHER RESOLVED, that, to the extent that any directly or indirectly wholly owned subsidiary of
ETI, whether or not a Filing Entity, (each an “ETI Subsidiary” and collectively, the “ETI Subsidiaries”)
is or serves as the sole member, managing member, shareholder, general partner, partner or other governing
body (collectively, a “Controlling Company”), in each case, of any other company (a “Controlled
Company”), each Authorized Officer of such ETI Subsidiary, who may act without the joinder of any other
Authorized Officer, be, and hereby is, authorized, empowered and directed in the name and on behalf of
such Controlling Company (acting for such Controlled Company in the capacity set forth above, as
applicable), to (i) authorize such Controlled Company to take any action that any ETI Subsidiary is
authorized to take hereunder and/or (ii) take any action on behalf of such Controlled Company that an
Authorized Officer is herein authorized to take on behalf of such Controlling Company; and

FURTHER RESOLVED, that any and all agreements, instruments, certificates or documents heretofore
executed and acts heretofore done in connection with the DIP Transactions approved by these resolutions
and any other transactions contemplated by the DIP Credit Agreement and the other DIP Loan Documents
are hereby ratified, confirmed, approved and adopted in all respects, and these resolutions have not been
modified, rescinded or amended and are in full force and effect.




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                                         Retention of Professionals

NOW, THEREFORE, BE IT RESOLVED, that each Filing Entity is hereby authorized, and each
Authorized Officer shall be, and hereby is, authorized, directed and empowered, on behalf of and in the
name of the relevant Filing Entity, to employ and retain (i) Latham & Watkins LLP to act as bankruptcy co-
counsel, (ii) Hunton Andrews Kurth LLP to act as bankruptcy co-counsel, (iii) Houlihan Lokey, Financial
Advisors, Inc. to act as investment banker, (iv) AlixPartners, LLP to act as financial advisor and to provide the
services of the CRO and Deputy CRO, (v) Omni Agent Solutions, Inc., to act as claims, noticing, and solicitation
agent, and (vi) Sitrick and Company to act as communications advisor (collectively, the “Professionals”), in each
case, in connection with the Chapter 11 Cases;

FURTHER RESOLVED, that each Filing Entity is hereby authorized, and each Authorized Officer shall
be, and hereby is, authorized, directed and empowered, on behalf of and in the name of such Filing Entity,
to employ and retain such further legal, restructuring, financial, accounting and bankruptcy services firms
as may be deemed necessary or appropriate by each Authorized Officer to assist each Filing Entity in
carrying out its responsibilities in the Chapter 11 Cases and achieving a successful reorganization; and

FURTHER RESOLVED, that each Filing Entity is hereby authorized, and each Authorized Officer shall
be, and hereby is, authorized and empowered, with full power of delegation, in the name and on behalf such
Filing Entity, to take or cause to be taken any and all such further action and to execute and deliver or cause
to be executed or delivered, and to amend, supplement or otherwise modify from time to time, all such
further agreements, documents, certificates, statements, notices, undertakings and other writings, and to
incur and to pay or direct payment of all such fees and expenses, as in the judgment of the Authorized
Officer shall be necessary, appropriate or advisable to effectuate the purpose and intent of any and all of
the foregoing resolutions.

                        General Authority and Ratification of Consistent Actions

NOW, THEREFORE, BE IT RESOLVED, that all acts lawfully done or actions lawfully taken by any
Authorized Officer or any of the Professionals in connection with the Chapter 11 Cases or any proceedings
or matters related thereto (including, without limitation, the DIP Transactions and the DIP Loan
Documents), be, and hereby are, adopted, ratified, confirmed and approved in all respects as the acts and
deeds of the Filing Entities;

FURTHER RESOLVED, that all actions taken and agreements and documents executed by the
Authorized Officers, or any person or persons designated and authorized to act by any of them, prior to the
adoption of these resolutions which would have been authorized by these resolutions had such actions been
taken (or documents been executed) after adoption of these resolutions, are ratified, confirmed, approved
and adopted in all respects;

FURTHER RESOLVED, that each Authorized Officer, acting alone, is authorized and directed on behalf
of the relevant Filing Entity to do or cause to be done, and to grant such powers of attorney as are necessary
or desirable to do or be done on behalf of such Filing Entity or its subsidiaries, all such acts or things and
to sign and deliver, or cause to be signed and delivered, all such agreements, documents, instruments and
certificates, as such officer or officers may deem necessary, advisable or appropriate to effectuate or carry
out the purposes and intent of the foregoing resolutions and to perform the obligations of such Filing Entity
under the agreements and instruments referred to therein, with such execution and delivery of such
agreements, documents, instruments or certificates to be conclusive evidence that the form, terms and
provisions thereof have been approved by the Principals;



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FURTHER RESOLVED that the Principals of the Filing Entities hereby approve of the transactions herein
and all related documents, instruments and agreements relating to the transactions on behalf of the Filing
Entities and hereby authorize each such Filing Entity to enter into and perform each of its obligations in
connection with the transactions and all related agreements, documents, instruments and certificates
contemplated thereby; and

FURTHER RESOLVED, that for the purposes of these resolutions, the term “Authorized Officer” shall
mean and include the Chief Executive Officer, President, Chief Financial Officer, Chief Accounting
Officer, Treasurer, General Counsel, Secretary, Assistant Secretary, Chief Restructuring Officer, Deputy
Chief Restructuring Officer, or any Executive Vice President or Vice President, of the applicable Filing
Entity.



                 [Remainder of Page Intentionally Left Blank; Signature Pages Follow]




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         IN WITNESS WHEREOF, the undersigned have executed this Written Consent as of the date
first written above.


EXELA TECHNOLOGIES, INC.
as sole member of
EXELA TECHNOLOGIES BPA, LLC


By:_________________________________
Name: Matt Brown
Title: Interim Chief Financial Officer


EXELA TECHNOLOGIES, INC.
as the sole member of
EXELA TECHNOLOGIES BPA, LLC
the sole member of
EXELA INTERMEDIATE LLC


By:_________________________________
Name: Matt Brown
Title: Interim Chief Financial Officer


EXELA TECHNOLOGIES, INC.
as the sole member of
ETI-XCV HOLDINGS, LLC
the sole member of
EXI-XCV, LLC
the sole member of
NEON ACQUISITION, LLC
XCV-EMEA, LLC


By:_________________________________
Name: Matt Brown
Title: Interim Chief Financial Officer




    [Signature Page to Written Consent of the Sole Member of Exela Technologies BPA, LLC, Exela
                  Intermediate LLC, Neon Acquisition, LLC, and XCV-EMEA, LLC]
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      IN WITNESS WHEREOF, the undersigned, being all of the members of the board of directors
of EXELA INTERMEDIATE LLC, have executed this Written Consent as of the date first written above.


By:_________________________________
Name: Alan Carr




 [Signature Page to the Written Consent of the Board of Directors of Exela Intermediate LLC]
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      IN WITNESS WHEREOF, the undersigned, being all of the members of the board of directors
of EXELA INTERMEDIATE LLC, have executed this Written Consent as of the date first written above.


By:_________________________________
Name: James Reynolds




 [Signature Page to the Written Consent of the Board of Directors of Exela Intermediate LLC]
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      IN WITNESS WHEREOF, the undersigned, being all of the members of the board of directors
of EXELA INTERMEDIATE LLC, have executed this Written Consent as of the date first written above.


By:_________________________________
Name: Coley Clark




 [Signature Page to the Written Consent of the Board of Directors of Exela Intermediate LLC]
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       IN WITNESS WHEREOF, the undersigned, being all of the members of the board of directors
of EXELA TECHNOLOGIES BPA, LLC, have executed this Written Consent as of the date first written
above.



By:_________________________________
Name: Suresh Yannamani




    [Signature Page to Written Consent of the Board of Directors of Exela Technologies BPA, LLC]
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       IN WITNESS WHEREOF, the undersigned, being all of the members of the board of directors
of EXELA TECHNOLOGIES BPA, LLC, have executed this Written Consent as of the date first written
above.


By:_________________________________
Name: James Reynolds




 [Signature Page to the Written Consent of the Board of Directors of Exela Technologies BPA,
                                             LLC]
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      IN WITNESS WHEREOF, the undersigned, being all of the members of the board of directors
of NOVITEX HOLDINGS, INC., have executed this Written Consent as of the date first written above.



By:_________________________________
Name: Suresh Yannamani




        [Signature Page to Written Consent of the Board of Directors of Novitex Holdings, Inc.]
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      IN WITNESS WHEREOF, the undersigned, being all of the members of the board of directors
of NOVITEX HOLDINGS, INC., have executed this Written Consent as of the date first written above.


By:_________________________________
Name: Sandeep Sapru




  [Signature Page to the Written Consent of the Board of Directors of Novitex Holdings, Inc.]
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        IN WITNESS WHEREOF, the undersigned has executed this Written Consent as of the date first
written above.


NOVITEX HOLDINGS, INC.
as sole member of
NOVITEX INTERMEDIATE, LLC


By:_________________________________
Name: Suresh Yannamani
Title: Chief Executive Officer




NOVITEX HOLDINGS, INC.
as sole member of
NOVITEX INTERMEDIATE, LLC
the sole member of
NOVITEX GOVERNMENT SOLUTIONS, LLC
the sole member of
SIG-GP, L.L.C.


By:_________________________________
Name: Suresh Yannamani
Title: Chief Executive Officer




[Signature Page to Written Consent of the Sole Member of Novitex Intermediate, LLC and SIG-GP, LLC]
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NOVITEX HOLDINGS, INC.
as sole member of
NOVITEX INTERMEDIATE, LLC
the sole member of
NOVITEX GOVERNMENT SOLUTIONS, LLC
the sole member of
SIG-GP, L.L.C.
the general partner of
SERVICES INTEGRATION GROUP, L.P.


By:_________________________________
Name: Suresh Yannamani
Title: Chief Executive Officer


NOVITEX HOLDINGS, INC.
as sole member of
NOVITEX INTERMEDIATE, LLC
the sole member of
NOVITEX GOVERNMENT SOLUTIONS, LLC
the limited partner of
SERVICES INTEGRATION GROUP, L.P.


By:_________________________________
Name: Suresh Yannamani
Title: Chief Executive Officer




       [Signature Page to Written Consent of the Partners of Services Integration Group, L.P.]
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         IN WITNESS WHEREOF, the undersigned, being all of the members of the board of managers
of NOVITEX GOVERNMENT SOLUTIONS, LLC, have executed this Written Consent as of the date
first written above.



By:_________________________________
Name: Suresh Yannamani




 [Signature Page to Written Consent of the Board of Managers of Novitex Government Solutions, LLC]
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         IN WITNESS WHEREOF, the undersigned, being all of the members of the board of managers
of NOVITEX GOVERNMENT SOLUTIONS, LLC, have executed this Written Consent as of the date
first written above.


By:_________________________________
Name: Mark Fairchild




   [Signature Page to the Written Consent of the Board of Managers of Novitex Government
                                      Solutions, LLC]
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      IN WITNESS WHEREOF, the undersigned, being all of the members of the board of directors
of EXELA FINANCE INC., have executed this Written Consent as of the date first written above.



By:_________________________________
Name: Suresh Yannamani




         [Signature Page to Written Consent of the Board of Directors of Exela Finance Inc.]
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      IN WITNESS WHEREOF, the undersigned, being all of the members of the board of directors
of EXELA FINANCE INC., have executed this Written Consent as of the date first written above.


By:_________________________________
Name: Sandeep Sapru




    [Signature Page to the Written Consent of the Board of Directors of Exela Finance Inc.]
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       IN WITNESS WHEREOF, the undersigned, being all of the members of the board of directors
of SOURCEHOV HOLDINGS, INC., have executed this Written Consent as of the date first written
above.



By:_________________________________
Name: Suresh Yannamani




      [Signature Page to Written Consent of the Board of Directors of SourceHOV Holdings, Inc.]
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       IN WITNESS WHEREOF, the undersigned, being all of the members of the board of directors
of SOURCEHOV HOLDINGS, INC., have executed this Written Consent as of the date first written
above.



By:_________________________________
Name: Sandeep Sapru




 [Signature Page to the Written Consent of the Board of Directors of Sourcehov Holdings, Inc.]
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        IN WITNESS WHEREOF, the undersigned has executed this Written Consent as of the date first
written above.


SOURCEHOV HOLDINGS, INC.
as sole member of
SOURCEHOV LLC
the sole member of
HOV SERVICES, LLC
the sole member of
RUSTIC CANYON III, LLC


By:_________________________________
Name: Suresh Yannamani
Title: Chief Executive Officer




          [Signature Page to Written Consent of the Sole Member of Rustic Canyon III, LLC]
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      IN WITNESS WHEREOF, the undersigned, being all of the members of the board of managers
of RUSTIC CANYON III, LLC, have executed this Written Consent as of the date first written above.



By:_________________________________
Name: Suresh Yannamani




       [Signature Page to Written Consent of the Board of Managers of Rustic Canyon III, LLC]
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      IN WITNESS WHEREOF, the undersigned, being all of the members of the board of managers
of RUSTIC CANYON III, LLC, have executed this Written Consent as of the date first written above.


By:_________________________________
Name: Sandeep Sapru




 [Signature Page to the Written Consent of the Board of Managers of Rustic Canyon III, LLC]
      Case 25-90023 Document 1 Filed in TXSB on 03/03/25 Page 38 of 116



      IN WITNESS WHEREOF, the undersigned, being all of the members of the board of managers
of SOURCEHOV LLC, have executed this Written Consent as of the date first written above.



By:_________________________________
Name: Suresh Yannamani




         [Signature Page to Written Consent of the Board of Managers of SourceHOV LLC]
      Case 25-90023 Document 1 Filed in TXSB on 03/03/25 Page 39 of 116



      IN WITNESS WHEREOF, the undersigned, being all of the members of the board of managers
of SOURCEHOV LLC, have executed this Written Consent as of the date first written above.



By:_________________________________
Name: Sandeep Sapru




     [Signature Page to the Written Consent of the Board of Managers of Sourcehov LLC]
      Case 25-90023 Document 1 Filed in TXSB on 03/03/25 Page 40 of 116



       IN WITNESS WHEREOF, the undersigned, being all of the members of the board of managers
of CORPSOURCE HOLDINGS, LLC, have executed this Written Consent as of the date first written
above.



By:_________________________________
Name: Suresh Yannamani




     [Signature Page to Written Consent of the Board of Managers of Corpsource Holdings, LLC]
      Case 25-90023 Document 1 Filed in TXSB on 03/03/25 Page 41 of 116



       IN WITNESS WHEREOF, the undersigned, being all of the members of the board of managers
of CORPSOURCE HOLDINGS, LLC, have executed this Written Consent as of the date first written
above.


By:_________________________________
Name: Sandeep Sapru




[Signature Page to the Written Consent of the Board of Managers of Corpsource Holdings, LLC]
      Case 25-90023 Document 1 Filed in TXSB on 03/03/25 Page 42 of 116



      IN WITNESS WHEREOF, the undersigned, being all of the members of the board of managers
of HOV SERVICES, LLC, have executed this Written Consent as of the date first written above.



By:_________________________________
Name: Suresh Yannamani




        [Signature Page to Written Consent of the Board of Managers of HOV Services, LLC]
      Case 25-90023 Document 1 Filed in TXSB on 03/03/25 Page 43 of 116




      IN WITNESS WHEREOF, the undersigned, being all of the members of the board of managers
of HOV SERVICES, LLC, have executed this Written Consent as of the date first written above.


By:_________________________________
Name: Sandeep Sapru




   [Signature Page to the Written Consent of the Board of Managers of HOV Services, LLC]
       Case 25-90023 Document 1 Filed in TXSB on 03/03/25 Page 44 of 116



       IN WITNESS WHEREOF, the undersigned, being all of the members of the board of directors
of SOURCECORP, INCORPORATED, have executed this Written Consent as of the date first written
above.



By:_________________________________
Name: Suresh Yannamani




      [Signature Page to Written Consent of the Board of Directors of SourceCorp, Incorporated]
       Case 25-90023 Document 1 Filed in TXSB on 03/03/25 Page 45 of 116



       IN WITNESS WHEREOF, the undersigned, being all of the members of the board of directors
of SOURCECORP, INCORPORATED, have executed this Written Consent as of the date first written
above.


By:_________________________________
Name: Sandeep Sapru




[Signature Page to the Written Consent of the Board of Directors of Sourcecorp, Incorporated]
      Case 25-90023 Document 1 Filed in TXSB on 03/03/25 Page 46 of 116



      IN WITNESS WHEREOF, the undersigned, being all of the members of the board of managers
of EXELA RE LLC, have executed this Written Consent as of the date first written above.


By:_________________________________
Name: Suresh Yannamani




           [Signature Page to Written Consent of the Board of Managers of Exela RE LLC]
      Case 25-90023 Document 1 Filed in TXSB on 03/03/25 Page 47 of 116



      IN WITNESS WHEREOF, the undersigned, being all of the members of the board of managers
of EXELA RE LLC, have executed this Written Consent as of the date first written above.


By:_________________________________
Name: Sandeep Sapru




      [Signature Page to the Written Consent of the Board of Managers of Exela RE LLC]
       Case 25-90023 Document 1 Filed in TXSB on 03/03/25 Page 48 of 116



        IN WITNESS WHEREOF, the undersigned has executed this Written Consent as of the date first
written above.


SOURCECORP, INCORPORATED
as sole member of
MERIDIAN CONSULTING GROUP, LLC


By:_________________________________
Name: Suresh Yannamani
Title: Chief Executive Officer




     [Signature Page to Written Consent of the Sole Member of Meridian Consulting Group, LLC]
       Case 25-90023 Document 1 Filed in TXSB on 03/03/25 Page 49 of 116



      IN WITNESS WHEREOF, the undersigned, being all of the members of the board of directors
of SOURCECORP LEGAL INC., have executed this Written Consent as of the date first written above.



By:_________________________________
Name: Suresh Yannamani




        [Signature Page to Written Consent of the Board of Directors of SourceCorp Legal Inc.]
       Case 25-90023 Document 1 Filed in TXSB on 03/03/25 Page 50 of 116



      IN WITNESS WHEREOF, the undersigned, being all of the members of the board of directors
of SOURCECORP LEGAL INC., have executed this Written Consent as of the date first written above.


By:_________________________________
Name: Sandeep Sapru




  [Signature Page to the Written Consent of the Board of Directors of Sourcecorp Legal Inc.]
       Case 25-90023 Document 1 Filed in TXSB on 03/03/25 Page 51 of 116



        IN WITNESS WHEREOF, the undersigned has executed this Written Consent as of the date first
written above.


SOURCECORP LEGAL INC.
as sole member of
EXELA XBP, LLC


By:_________________________________
Name: Suresh Yannamani
Title: Chief Executive Officer




             [Signature Page to Written Consent of the Sole Member of Exela XBP, LLC]
       Case 25-90023 Document 1 Filed in TXSB on 03/03/25 Page 52 of 116



      IN WITNESS WHEREOF, the undersigned, being all of the members of the board of directors
of RUST CONSULTING, INC., have executed this Written Consent as of the date first written above.



By:_________________________________
Name: Suresh Yannamani




        [Signature Page to Written Consent of the Board of Directors of Rust Consulting, Inc.]
       Case 25-90023 Document 1 Filed in TXSB on 03/03/25 Page 53 of 116



      IN WITNESS WHEREOF, the undersigned, being all of the members of the board of directors
of RUST CONSULTING, INC., have executed this Written Consent as of the date first written above.


By:_________________________________
Name: Sandeep Sapru




   [Signature Page to the Written Consent of the Board of Directors of Rust Consulting, Inc.]
       Case 25-90023 Document 1 Filed in TXSB on 03/03/25 Page 54 of 116



        IN WITNESS WHEREOF, the undersigned has executed this Written Consent as of the date first
written above.


RUST CONSULTING, INC.
as sole member of
KINSELLA MEDIA LLC


By:_________________________________
Name: Suresh Yannamani
Title: Chief Executive Officer




           [Signature Page to Written Consent of the Sole Member of Kinsella Media LLC]
       Case 25-90023 Document 1 Filed in TXSB on 03/03/25 Page 55 of 116



        IN WITNESS WHEREOF, the undersigned, being all of the members of the board of directors
of ECONOMIC RESEARCH SERVICES, INC., have executed this Written Consent as of the date first
written above.



By:_________________________________
Name: Suresh Yannamani




  [Signature Page to Written Consent of the Board of Directors of Economic Research Services, Inc.]
       Case 25-90023 Document 1 Filed in TXSB on 03/03/25 Page 56 of 116



        IN WITNESS WHEREOF, the undersigned, being all of the members of the board of directors
of ECONOMIC RESEARCH SERVICES, INC., have executed this Written Consent as of the date first
written above.


By:_________________________________
Name: Sandeep Sapru




    [Signature Page to the Written Consent of the Board of Directors of Economic Research
                                       Serivices, Inc.]
       Case 25-90023 Document 1 Filed in TXSB on 03/03/25 Page 57 of 116



       IN WITNESS WHEREOF, the undersigned, being all of the members of the board of directors
of SOURCEHOV HEALTHCARE, INC., have executed this Written Consent as of the date first written
above.



By:_________________________________
Name: Suresh Yannamani




     [Signature Page to Written Consent of the Board of Directors of SourceHOV Healthcare, Inc.]
       Case 25-90023 Document 1 Filed in TXSB on 03/03/25 Page 58 of 116



       IN WITNESS WHEREOF, the undersigned, being all of the members of the board of directors
of SOURCEHOV HEALTHCARE, INC., have executed this Written Consent as of the date first written
above.


By:_________________________________
Name: Sandeep Sapru




[Signature Page to the Written Consent of the Board of Directors of Sourcehov Healthcare, Inc.]
       Case 25-90023 Document 1 Filed in TXSB on 03/03/25 Page 59 of 116



        IN WITNESS WHEREOF, the undersigned, being all of the members of the board of directors
of UNITED INFORMATION SERVICES, INC., have executed this Written Consent as of the date first
written above.



By:_________________________________
Name: Suresh Yannamani




   [Signature Page to Written Consent of the Board of Directors of United Information Services, Inc.]
       Case 25-90023 Document 1 Filed in TXSB on 03/03/25 Page 60 of 116



        IN WITNESS WHEREOF, the undersigned, being all of the members of the board of directors
of UNITED INFORMATION SERVICES, INC., have executed this Written Consent as of the date first
written above.



By:_________________________________
Name: Sandeep Sapru




    [Signature Page to the Written Consent of the Board of Directors of United Information
                                       Services, Inc.]
       Case 25-90023 Document 1 Filed in TXSB on 03/03/25 Page 61 of 116



      IN WITNESS WHEREOF, the undersigned, being all of the members of the board of directors
of SOURCECORP BPS INC., have executed this Written Consent as of the date first written above.



By:_________________________________
Name: Suresh Yannamani




        [Signature Page to Written Consent of the Board of Directors of SourceCorp BPS Inc.]
       Case 25-90023 Document 1 Filed in TXSB on 03/03/25 Page 62 of 116



      IN WITNESS WHEREOF, the undersigned, being all of the members of the board of directors
of SOURCECORP BPS INC., have executed this Written Consent as of the date first written above.


By:_________________________________
Name: Sandeep Sapru




   [Signature Page to the Written Consent of the Board of Directors of Sourcecorp BPS Inc.]
       Case 25-90023 Document 1 Filed in TXSB on 03/03/25 Page 63 of 116



        IN WITNESS WHEREOF, the undersigned has executed this Written Consent as of the date first
written above.


SOURCECORP BPS INC.
as sole member of
MANAGED CARE PROFESSIONALS, LLC
DELIVEREX, LLC


By:_________________________________
Name: Suresh Yannamani
Title: Chief Executive Officer




   [Signature Page to Written Consent of the Sole Member of Managed Care Professionals, LLC and
                                           Deliverex, LLC]
       Case 25-90023 Document 1 Filed in TXSB on 03/03/25 Page 64 of 116



        IN WITNESS WHEREOF, the undersigned, being all of the members of the board of directors
of SOURCECORP MANAGEMENT, INC., have executed this Written Consent as of the date first
written above.



By:_________________________________
Name: Suresh Yannamani




    [Signature Page to Written Consent of the Board of Directors of SourceCorp Management, Inc.]
       Case 25-90023 Document 1 Filed in TXSB on 03/03/25 Page 65 of 116



        IN WITNESS WHEREOF, the undersigned, being all of the members of the board of directors
of SOURCECORP MANAGEMENT, INC., have executed this Written Consent as of the date first
written above.


By:_________________________________
Name: Sandeep Sapru




 [Signature Page to the Written Consent of the Board of Directors of Sourcecorp Management,
                                             Inc.]
       Case 25-90023 Document 1 Filed in TXSB on 03/03/25 Page 66 of 116



       IN WITNESS WHEREOF, the undersigned, being all of the members of the board of directors
of HOV ENTERPRISE SERVICES, INC., have executed this Written Consent as of the date first written
above.



By:_________________________________
Name: Suresh Yannamani




    [Signature Page to Written Consent of the Board of Directors of HOV Enterprise Services, Inc.]
       Case 25-90023 Document 1 Filed in TXSB on 03/03/25 Page 67 of 116



       IN WITNESS WHEREOF, the undersigned, being all of the members of the board of directors
of HOV ENTERPRISE SERVICES, INC., have executed this Written Consent as of the date first written
above.


By:_________________________________
Name: Sandeep Sapru




 [Signature Page to the Written Consent of the Board of Directors of HOV Enterprise Services,
                                             Inc.]
       Case 25-90023 Document 1 Filed in TXSB on 03/03/25 Page 68 of 116



      IN WITNESS WHEREOF, the undersigned, being all of the members of the board of directors
of CHARTER LASON, INC., have executed this Written Consent as of the date first written above.



By:_________________________________
Name: Suresh Yannamani




         [Signature Page to Written Consent of the Board of Directors of Charter Lason, Inc.]
       Case 25-90023 Document 1 Filed in TXSB on 03/03/25 Page 69 of 116



      IN WITNESS WHEREOF, the undersigned, being all of the members of the board of directors
of CHARTER LASON, INC., have executed this Written Consent as of the date first written above.


By:_________________________________
Name: Sandeep Sapru




    [Signature Page to the Written Consent of the Board of Directors of Charter Lason, Inc.]
      Case 25-90023 Document 1 Filed in TXSB on 03/03/25 Page 70 of 116



      IN WITNESS WHEREOF, the undersigned, being all of the members of the board of directors
of HOV SERVICES, INC., have executed this Written Consent as of the date first written above.



By:_________________________________
Name: Suresh Yannamani




         [Signature Page to Written Consent of the Board of Directors of HOV Services, Inc.]
      Case 25-90023 Document 1 Filed in TXSB on 03/03/25 Page 71 of 116



      IN WITNESS WHEREOF, the undersigned, being all of the members of the board of directors
of HOV SERVICES, INC., have executed this Written Consent as of the date first written above.


By:_________________________________
Name: Sandeep Sapru




    [Signature Page to the Written Consent of the Board of Directors of HOV Services, Inc.]
       Case 25-90023 Document 1 Filed in TXSB on 03/03/25 Page 72 of 116



       IN WITNESS WHEREOF, the undersigned, being all of the members of the board of directors
of LASON INTERNATIONAL, INC., have executed this Written Consent as of the date first written
above.



By:_________________________________
Name: Suresh Yannamani




      [Signature Page to Written Consent of the Board of Directors of Lason International, Inc.]
       Case 25-90023 Document 1 Filed in TXSB on 03/03/25 Page 73 of 116



       IN WITNESS WHEREOF, the undersigned, being all of the members of the board of directors
of LASON INTERNATIONAL, INC., have executed this Written Consent as of the date first written
above.


By:_________________________________
Name: Sandeep Sapru




 [Signature Page to the Written Consent of the Board of Directors of Lason International, Inc.]
       Case 25-90023 Document 1 Filed in TXSB on 03/03/25 Page 74 of 116



       IN WITNESS WHEREOF, the undersigned, being all of the members of the board of directors
of FTS PARENT INC., have executed this Written Consent as of the date first written above.



By:_________________________________
Name: Suresh Yannamani




          [Signature Page to Written Consent of the Board of Directors of FTS Parent Inc.]
       Case 25-90023 Document 1 Filed in TXSB on 03/03/25 Page 75 of 116



       IN WITNESS WHEREOF, the undersigned, being all of the members of the board of directors
of FTS PARENT INC., have executed this Written Consent as of the date first written above.



By:_________________________________
Name: Sandeep Sapru




     [Signature Page to the Written Consent of the Board of Directors of FTS Parent Inc.]
      Case 25-90023 Document 1 Filed in TXSB on 03/03/25 Page 76 of 116



      IN WITNESS WHEREOF, the undersigned, being all of the members of the board of directors
of TRANSCENTRA, INC., have executed this Written Consent as of the date first written above.



By:_________________________________
Name: Suresh Yannamani




          [Signature Page to Written Consent of the Board of Directors of Transcentra, Inc.]
      Case 25-90023 Document 1 Filed in TXSB on 03/03/25 Page 77 of 116



      IN WITNESS WHEREOF, the undersigned, being all of the members of the board of directors
of TRANSCENTRA, INC., have executed this Written Consent as of the date first written above.


By:_________________________________
Name: Sandeep Sapru




     [Signature Page to the Written Consent of the Board of Directors of Transcentra, Inc.]
       Case 25-90023 Document 1 Filed in TXSB on 03/03/25 Page 78 of 116



      IN WITNESS WHEREOF, the undersigned, being all of the members of the board of directors
of REGULUS HOLDING INC., have executed this Written Consent as of the date first written above.



By:_________________________________
Name: Suresh Yannamani




        [Signature Page to Written Consent of the Board of Directors of Regulus Holding Inc.]
       Case 25-90023 Document 1 Filed in TXSB on 03/03/25 Page 79 of 116



      IN WITNESS WHEREOF, the undersigned, being all of the members of the board of directors
of REGULUS HOLDING INC., have executed this Written Consent as of the date first written above.


By:_________________________________
Name: Sandeep Sapru




   [Signature Page to the Written Consent of the Board of Directors of Regulus Holding Inc.]
       Case 25-90023 Document 1 Filed in TXSB on 03/03/25 Page 80 of 116



        IN WITNESS WHEREOF, the undersigned has executed this Written Consent as of the date first
written above.


REGULUS HOLDING INC.
as sole member of
REGULUS GROUP LLC


By:_________________________________
Name: Suresh Yannamani
Title: Chief Executive Officer




            [Signature Page to Written Consent of the Sole Member of Regulus Group LLC]
       Case 25-90023 Document 1 Filed in TXSB on 03/03/25 Page 81 of 116



      IN WITNESS WHEREOF, the undersigned, being all of the members of the board of managers
of REGULUS GROUP II LLC, have executed this Written Consent as of the date first written above.



By:_________________________________
Name: Suresh Yannamani




       [Signature Page to Written Consent of the Board of Managers of Regulus Group II LLC]
       Case 25-90023 Document 1 Filed in TXSB on 03/03/25 Page 82 of 116



      IN WITNESS WHEREOF, the undersigned, being all of the members of the board of managers
of REGULUS GROUP II LLC, have executed this Written Consent as of the date first written above.


By:_________________________________
Name: Lakshmi Narayan




  [Signature Page to the Written Consent of the Board of Managers of Regulus Group II LLC]
       Case 25-90023 Document 1 Filed in TXSB on 03/03/25 Page 83 of 116



         IN WITNESS WHEREOF, the undersigned, being all of the members of the board of managers
of REGULUS INTEGRATED SOLUTIONS LLC, have executed this Written Consent as of the date
first written above.



By:_________________________________
Name: Suresh Yannamani




  [Signature Page to Written Consent of the Board of Managers of Regulus Integrated Solutions LLC]
       Case 25-90023 Document 1 Filed in TXSB on 03/03/25 Page 84 of 116



         IN WITNESS WHEREOF, the undersigned, being all of the members of the board of managers
of REGULUS INTEGRATED SOLUTIONS LLC, have executed this Written Consent as of the date
first written above.


By:_________________________________
Name: Lakshmi Narayan




    [Signature Page to the Written Consent of the Board of Managers of Regulus Integrated
                                       Solutions LLC]
       Case 25-90023 Document 1 Filed in TXSB on 03/03/25 Page 85 of 116



      IN WITNESS WHEREOF, the undersigned, being all of the members of the board of managers
of REGULUS AMERICA LLC, have executed this Written Consent as of the date first written above.



By:_________________________________
Name: Suresh Yannamani




       [Signature Page to Written Consent of the Board of Managers of Regulus America LLC]
       Case 25-90023 Document 1 Filed in TXSB on 03/03/25 Page 86 of 116



      IN WITNESS WHEREOF, the undersigned, being all of the members of the board of managers
of REGULUS AMERICA LLC, have executed this Written Consent as of the date first written above.


By:_________________________________
Name: Lakshmi Narayan




  [Signature Page to the Written Consent of the Board of Managers of Regulus America LLC]
      Case 25-90023 Document 1 Filed in TXSB on 03/03/25 Page 87 of 116



      IN WITNESS WHEREOF, the undersigned, being all of the members of the board of managers
of REGULUS WEST LLC, have executed this Written Consent as of the date first written above.



By:_________________________________
Name: Suresh Yannamani




         [Signature Page to Written Consent of the Board of Managers of Regulus West LLC]
      Case 25-90023 Document 1 Filed in TXSB on 03/03/25 Page 88 of 116



      IN WITNESS WHEREOF, the undersigned, being all of the members of the board of managers
of REGULUS WEST LLC, have executed this Written Consent as of the date first written above.


By:_________________________________
Name: Lakshmi Narayan




    [Signature Page to the Written Consent of the Board of Managers of Regulus West LLC]
       Case 25-90023 Document 1 Filed in TXSB on 03/03/25 Page 89 of 116



        IN WITNESS WHEREOF, the undersigned, being all of the members of the board of directors
of J & B SOFTWARE INC., have executed this Written Consent as of the date first written above.



By:_________________________________
Name: Suresh Yannamani




         [Signature Page to Written Consent of the Board of Directors of J&B Software Inc.]
       Case 25-90023 Document 1 Filed in TXSB on 03/03/25 Page 90 of 116



        IN WITNESS WHEREOF, the undersigned, being all of the members of the board of directors
of J & B SOFTWARE INC., have executed this Written Consent as of the date first written above.



By:_________________________________
Name: Sandeep Sapru




    [Signature Page to the Written Consent of the Board of Directors of J & B Software Inc.]
       Case 25-90023 Document 1 Filed in TXSB on 03/03/25 Page 91 of 116



      IN WITNESS WHEREOF, the undersigned, being all of the members of the board of directors
of PANGEA ACQUISITIONS INC., have executed this Written Consent as of the date first written above.



By:_________________________________
Name: Suresh Yannamani




       [Signature Page to Written Consent of the Board of Directors of Pangea Acquisitions Inc.]
       Case 25-90023 Document 1 Filed in TXSB on 03/03/25 Page 92 of 116



      IN WITNESS WHEREOF, the undersigned, being all of the members of the board of directors
of PANGEA ACQUISITIONS INC., have executed this Written Consent as of the date first written above.


By:_________________________________
Name: Sandeep Sapru




 [Signature Page to the Written Consent of the Board of Directors of Pangea Acquisitions Inc.]
       Case 25-90023 Document 1 Filed in TXSB on 03/03/25 Page 93 of 116



        IN WITNESS WHEREOF, the undersigned has executed this Written Consent as of the date first
written above.


PANGEA ACQUISITIONS INC.
as sole member of
BANCTEC GROUP LLC


By:_________________________________
Name: Suresh Yannamani
Title: Chief Executive Officer


PANGEA ACQUISITIONS INC.
as sole member of
BANCTEC GROUP LLC
the sole member of
RC4 CAPITAL, LLC


By:_________________________________
Name: Suresh Yannamani
Title: Chief Executive Officer


PANGEA ACQUISITIONS INC.
as sole member of
BANCTEC GROUP LLC
the sole member of
RC4 CAPITAL, LLC
the sole member of
DFG2 HOLDINGS, LLC


By:_________________________________
Name: Suresh Yannamani
Title: Chief Executive Officer




 [Signature Page to Written Consent of the Sole Member of BancTec Group LLC, RC4 Capital, LLC and
                                         DFG2 Holdings, LLC.]
      Case 25-90023 Document 1 Filed in TXSB on 03/03/25 Page 94 of 116



PANGEA ACQUISITIONS INC.
as sole member of
BANCTEC GROUP LLC
the sole member of
RC4 CAPITAL, LLC
the sole member of
DFG2 HOLDINGS, LLC
the sole member of
DFG2, LLC


By:_________________________________
Name: Suresh Yannamani
Title: Chief Executive Officer


PANGEA ACQUISITIONS INC.
as sole member of
BANCTEC GROUP LLC
the sole member of
RC4 CAPITAL, LLC
the sole member of
DFG2 HOLDINGS, LLC
the sole member of
DFG2, LLC
the sole member of
PLEXUS GLOBAL FINANCE, LLC
HOVG, LLC
TRAC HOLDINGS, LLC


By:_________________________________
Name: Suresh Yannamani
Title: Chief Executive Officer




 [Signature Page to Written Consent of the Sole Member of DFG2, LLC, Plexus Global Finance, LLC,
                              HOVG, LLC, and Trac Holdings, LLC.]
      Case 25-90023 Document 1 Filed in TXSB on 03/03/25 Page 95 of 116



      IN WITNESS WHEREOF, the undersigned, being all of the members of the board of directors
of BANCTEC, INC., have executed this Written Consent as of the date first written above.



By:_________________________________
Name: Suresh Yannamani




           [Signature Page to Written Consent of the Board of Directors of BancTec, Inc.]
      Case 25-90023 Document 1 Filed in TXSB on 03/03/25 Page 96 of 116



      IN WITNESS WHEREOF, the undersigned, being all of the members of the board of directors
of BANCTEC, INC., have executed this Written Consent as of the date first written above.


By:_________________________________
Name: Sandeep Sapru




       [Signature Page to the Written Consent of the Board of Directors of Banctec, Inc.]
       Case 25-90023 Document 1 Filed in TXSB on 03/03/25 Page 97 of 116



        IN WITNESS WHEREOF, the undersigned has executed this Written Consent as of the date first
written above.


BANCTEC, INC.
as sole member of
DOCUDATA SOLUTIONS, L.C.


By:_________________________________
Name: Suresh Yannamani
Title: Chief Executive Officer




         [Signature Page to Written Consent of the Sole Member of DocuData Solutions, L.C.]
       Case 25-90023 Document 1 Filed in TXSB on 03/03/25 Page 98 of 116



         IN WITNESS WHEREOF, the undersigned, being all of the members of the board of directors
of BANCTEC INTERMEDIATE HOLDING, INC., have executed this Written Consent as of the date
first written above.



By:_________________________________
Name: Suresh Yannamani




  [Signature Page to Written Consent of the Board of Directors of BancTec Intermediate Holding, Inc.]
       Case 25-90023 Document 1 Filed in TXSB on 03/03/25 Page 99 of 116



         IN WITNESS WHEREOF, the undersigned, being all of the members of the board of directors
of BANCTEC INTERMEDIATE HOLDING, INC., have executed this Written Consent as of the date
first written above.


By:_________________________________
Name: Sandeep Sapru




   [Signature Page to the Written Consent of the Board of Directors of Banctec Intermediate
                                       Holding, Inc.]
      Case 25-90023 Document 1 Filed in TXSB on 03/03/25 Page 100 of 116



       IN WITNESS WHEREOF, the undersigned, being all of the members of the board of directors
of BTC VENTURES, INC., have executed this Written Consent as of the date first written above.



By:_________________________________
Name: Suresh Yannamani




         [Signature Page to Written Consent of the Board of Directors of BTC Ventures, Inc.]
      Case 25-90023 Document 1 Filed in TXSB on 03/03/25 Page 101 of 116



       IN WITNESS WHEREOF, the undersigned, being all of the members of the board of directors
of BTC VENTURES, INC., have executed this Written Consent as of the date first written above.


By:_________________________________
Name: Sandeep Sapru




    [Signature Page to the Written Consent of the Board of Directors of BTC Ventures, Inc.]
      Case 25-90023 Document 1 Filed in TXSB on 03/03/25 Page 102 of 116



       IN WITNESS WHEREOF, the undersigned, being all of the members of the board of directors
of BANCTEC (PUERTO RICO), INC., have executed this Written Consent as of the date first written
above.



By:_________________________________
Name: Suresh Yannamani




     [Signature Page to Written Consent of the Board of Directors of BancTec (Puerto Rico), Inc.]
      Case 25-90023 Document 1 Filed in TXSB on 03/03/25 Page 103 of 116



       IN WITNESS WHEREOF, the undersigned, being all of the members of the board of directors
of BANCTEC (PUERTO RICO), INC., have executed this Written Consent as of the date first written
above.


By:_________________________________
Name: Sandeep Sapru




[Signature Page to the Written Consent of the Board of Directors of Banctec (Puerto Rico), Inc.]
      Case 25-90023 Document 1 Filed in TXSB on 03/03/25 Page 104 of 116



        IN WITNESS WHEREOF, the undersigned, being all of the members of the board of directors
of RECOGNITION MEXICO HOLDING INC., have executed this Written Consent as of the date first
written above.



By:_________________________________
Name: Suresh Yannamani




   [Signature Page to Written Consent of the Board of Directors of Recognition Mexico Holding Inc.]
      Case 25-90023 Document 1 Filed in TXSB on 03/03/25 Page 105 of 116



        IN WITNESS WHEREOF, the undersigned, being all of the members of the board of directors
of RECOGNITION MEXICO HOLDING INC., have executed this Written Consent as of the date first
written above.


By:_________________________________
Name: Sandeep Sapru




[Signature Page to the Written Consent of the Board of Directors of Recognition Mexico Holding
                                              Inc.]
      Case 25-90023 Document 1 Filed in TXSB on 03/03/25 Page 106 of 116



        IN WITNESS WHEREOF, the undersigned has executed this Written Consent as of the date first
written above.


BANCTEC, INC.
as the sole shareholder of
BANCTEC (CANADA), INC.


By:_________________________________
Name: Suresh Yannamani
Title: Chief Executive Officer




        [Signature Page to Written Consent of the Sole Shareholder of BancTec (Canada), Inc.]
      Case 25-90023 Document 1 Filed in TXSB on 03/03/25 Page 107 of 116



       IN WITNESS WHEREOF, the undersigned, being all of the members of the board of directors
of SOURCEHOV CANADA COMPANY, have executed this Written Consent as of the date first written
above.



By:_________________________________
Name: Suresh Yannamani




    [Signature Page to Written Consent of the Board of Directors of SourceHOV Canada Company]
      Case 25-90023 Document 1 Filed in TXSB on 03/03/25 Page 108 of 116



       IN WITNESS WHEREOF, the undersigned, being all of the members of the board of directors
of SOURCEHOV CANADA COMPANY, have executed this Written Consent as of the date first written
above.


By:_________________________________
Name: Sandeep Sapru




    [Signature Page to the Written Consent of the Board of Directors of Sourcehov Canada
                                         Company]
      Case 25-90023 Document 1 Filed in TXSB on 03/03/25 Page 109 of 116



        IN WITNESS WHEREOF, the undersigned has executed this Written Consent as of the date first
written above.


BANCTEC (CANADA), INC.
as sole member of
SOURCEHOV CANADA COMPANY

By:_________________________________
Name: Suresh Yannamani
Title: Chief Executive Officer




       [Signature Page to Written Consent of the Sole Member of SourceHOV Canada Company]
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        IN WITNESS WHEREOF, the undersigned, being all of the members of the board of directors
of EXELA ENTERPRISE SOLUTIONS, INC., have executed this Written Consent as of the date first
written above.


By:_________________________________
Name: Andrej Jonovic




[Signature Page to the Written Consent of the Board of Directors of Exela Enterprise Solutions,
                                             Inc.]
      Case 25-90023 Document 1 Filed in TXSB on 03/03/25 Page 111 of 116



        IN WITNESS WHEREOF, the undersigned, being all of the members of the board of directors
of EXELA ENTERPRISE SOLUTIONS, INC., have executed this Written Consent as of the date first
written above.



By:_________________________________
Name: Matt Brown




    [Signature Page to Written Consent of the Board of Directors of Exela Enterprise Solutions, Inc.
      Case 25-90023 Document 1 Filed in TXSB on 03/03/25 Page 112 of 116



         IN WITNESS WHEREOF, the undersigned, being the sole member of the board of directors of
NOVITEX ENTERPRISE SOLUTIONS CANADA, INC., has executed this Written Consent as of the
date first written above.



By:_________________________________
Name: Suresh Yannamani




 [Signature Page to Written Consent of the Board of Directors of Novitex Enterprise Solutions Canada,
                                                Inc.]
      Case 25-90023 Document 1 Filed in TXSB on 03/03/25 Page 113 of 116



        IN WITNESS WHEREOF, the undersigned has executed this Written Consent as of the date first
written above.


EXELA ENTERPRISE SOLUTIONS, INC.
as the sole shareholder of
NOVITEX ENTERPRISE SOLUTIONS CANADA, INC.


By:_________________________________
Name: Tatiana Koleva
Title: President




  [Signature Page to Written Consent of the Sole Shareholder of Novitex Enterprise Solutions
                                        Canada, Inc.]
                                Case 25-90023 Document 1 Filed in TXSB on 03/03/25 Page 114 of 116


Fill in this information to identify the case:
Debtor name: DocuData Solutions, L.C.                                                                                            Check if this is an amended filing
United States Bankruptcy Court for the: Southern District of Texas
Case number (If known):



Official Form 204
Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders                                                                                                       12/15


A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do not include claims by any person or entity who is an
insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the
30 largest unsecured claims. The Debtors reserve the right to modify, recharacterize, or dispute any claim reflected herein.


 Name of creditor and complete mailing address, including zip   Name, telephone number, and email address of creditor contact    Nature of the claim Indicate if claim is                  Amount of unsecured claim
                           code                                                                                                  (for example, trade     contingent,      If the claim is fully unsecured, fill in only unsecured claim
                                                                                                                                  debts, bank loans,   unliquidated, or       amount. If claim is partially secured, fill in total claim
                                                                                                                                professional services,     disputed        amount and deduction for value of collateral or setoff to
                                                                                                                                   and government                                           calculate unsecured claim.
                                                                                                                                      contracts)
                                                                                                                                                                               Total claim, if     Deduction for value      Unsecured claim
                                                                                                                                                                              partially secured   of collateral or setoff


 1    U.S. Bank National Association                                       Tel: (651) 224-5117         Bondholders                                                                                                          $23,953,210
      Company, as Trustee for July Unsecured                              Fax: (651) 466-7430
      2026 Notes                                                                  Email:
      60 Livinston Ave                                           support@customerconnection.usbank.com
      St Paul, MN 55107
 2    ASG Technologies, Inc.                                                     Tel: (817) 652-6300                            Litigation                                                                                   $3,400,000
      700 Highlander Blvd #300                                                  Email: info@asg.com                             Settlement
      Arlington, TX 76015


 3    KONICA MINOLTA BUSINESS Solutions                                      Tel: (630) 271-6900                                Trade Vendor                                                                                 $1,362,835
      U.S.A. Inc.                                                  Email: mgrande@kmbs.konicaminolta.us
      Dept. CH 19188
      Palatine, IL 60055-9188

 4    Opex                                                                      Tel: (888) 384-5259                             Trade Vendor                                                                                 $1,225,681
      305 Commerce Dr.                                                         Email: info@opex.com
      Moorestown, NJ 08057-4234

 5    DIGITAL COLOR CONCEPTS INC                                               Tel: (908) 264-0504                              Trade Vendor                                                                                 $1,154,160
      256 SHEFFIELD STREET                                                   Email: info@dccnyc.com
      MOUNTAINSIDE, NJ 07092                                                 Email: don@dccnyc.com

 6    BOFA SECURITIES, INC.                                                    Attn: Debt Advisory                              Professional                                                                                 $1,150,000
      Bank of America Tower                                                     Attn: Erica Coller                              Services
      620 South Tyron Street, 20th Floor                                     Tel: (704) 208-3410
      Charlotte, NC 28255                                                    Fax: (980) 388-0838
                                                                          Email: info@bnamericas.com
 7    SONATA INFORMATION TECHNOLOGY                     Tel: +91-80-6778-1999        Trade Vendor                                                                                                                            $1,119,884
      LIMITED TOWER 2 GLOBAL VILLAGE         Email: Vijay.Naveen@sonata-software.com
      RVCE Post, Kengeri Hobli, Mysore Road,    Email: info@sonata-software.com
      Bengaluru 560059, India


 8    AT&T                                                                     Tel: (800) 235-7524                              Trade Vendor                                                                                 $1,056,287
      PO BOX 5019                                                             Email: sd5243@att.com
      Carol Stream, IL 60197-5019                                             Email: bk4752@att.com

 9    AFLAC                                                                   Tel: (800) 992-3522                               Litigation                                                                                     $875,501
      1932 Wynnton Road                                                       Fax: (877) 442-3522                               Settlement
      Columbus, GA 31999                                                    Email: cscmail@aflac.com


 10   Cahill Gordon & Reindel LLP                                              Tel: (212) 701-3000                              Professional                                                                                   $756,982
      Eighty Pine Street                                                      Fax: (212) 269-5420                               Services
      New York, NY 10005-1702                                                Email: jwhall@cahill.com




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Name of creditor and complete mailing address, including zip   Name, telephone number, and email address of creditor contact    Nature of the claim Indicate if claim is                  Amount of unsecured claim
                          code                                                                                                  (for example, trade     contingent,      If the claim is fully unsecured, fill in only unsecured claim
                                                                                                                                 debts, bank loans,   unliquidated, or       amount. If claim is partially secured, fill in total claim
                                                                                                                               professional services,     disputed        amount and deduction for value of collateral or setoff to
                                                                                                                                  and government                                           calculate unsecured claim.
                                                                                                                                     contracts)
                                                                                                                                                                              Total claim, if     Deduction for value      Unsecured claim
                                                                                                                                                                             partially secured   of collateral or setoff


11   CLEARY GOTTLIEB STEEN &                                                  Tel: (212) 225-2000                              Professional                                                                                   $675,995
     HAMILTON LLP                                                            Fax: (212) 225-3999                               Services
     One Liberty Plaza                                                     Email: malbano@cgsh.com
     New York, NY 10006

12   SANDY ALEXANDER INC                                                      Tel: (973) 470-8100                              Trade Vendor                                                                                   $662,776
     200 ENTIN ROAD                                                          Fax: (973) 470-9269
     CLIFTON, New Jersey 07014                                        Email: hello@sandyalexander.com



13   SCANNER HOLDINGS CORP dba: IBML                                          Tel: (205) 314-1819                              Trade Vendor                                                                                   $624,577
     2750 Crestwood Blvd                                                      Tel: (205) 956-4071
     Birmingham, AL 35210                                                     Fax: (205) 956-5309
                                                                            Email: support@ibml.com



14   Pitney Bowes                                                               Attn: Ryan Berndt                              Trade Vendor                                                                                   $614,862
     2225 American Dr.                                                         Tel: (203) 356-5000
     Neenah, WI 54956-1005                                                     Tel: (800) 243-7824
                                                                               Fax: (800) 882-2499
15   GENUITY CONCEPTS                                                         Tel: (336) 379-1850                              Trade Vendor                                                                                   $489,542
     507 N CHURCH STREET                                              Email: info@genuityconcepts.com
     GREENSBORO, North Carolina 27401


16   UNITED PARCEL SERVICE                                                   Tel: (800) 877-1497                               Trade Vendor                                                                                   $456,355
     P.O. Box 7247-0244                                             Email: enterpriseaccounts@ups.com
     Philadelphia, PA 19170-0001


17   STAPLES, INC. DBA HITOUCH                                              Tel: (866) 448-6824                                Trade Vendor                                                                                   $454,513
     PO BOX 208897                                               Email: Info@hitouchbusinessservices.com
     Dallas, TX 75320


18 ACCESS INFORMATION                                                           Tel: (877) 345-3546                            Trade Vendor                                                                                   $428,190
   INTERMEDIATE
   P.O. BOX 101048
   ATLANTA, GA 30392-1048
19 Image Business Machiness LLC                                               Tel: (877) 426-6006                              Trade Vendor                                                                                   $412,534
   P.O. Box 676673                                                       Email: ASKAR@US.IBM.COM
   Dallas, TX 75267-6673


20   Standard & Poors                                                       Tel: (800) 338-3987           Trade Vendor                                                                                                        $407,140
     The McGraw-Hill Cos Inc                                               Fax: (800) 953-8691
     2542 Collection                                           Email: corporate_secretary@mcgraw-hill.com
     Chicago, IL 60693


21   BLUECREST DMT Solutions Global                                         Tel: (475) 204-3068            Trade Vendor                                                                                                       $406,516
     Corp,                                                                 Tel: (844) 622-2583
     P O Box 74007412                                                          Email: Email:
     Chicago, IL 60674-7412                                         dmtpartorders@bluecrestinc.com
                                                               Email: bluecrestclientcare@bluecrestinc.com


22   NORTON ROSE FULLBRIGHT US LLP                                          Tel: (202) 662-0200                                Professional                                                                                   $403,785
     799 9th Street NW                                                             Email:                                      Services
     Suite 1000                                                   marissa.alcala@nortonrosefulbright.com
     Washington, DC 20001                                                          Email:
                                                                 matthew.kirtland@nortonrosefulbright.com




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Name of creditor and complete mailing address, including zip   Name, telephone number, and email address of creditor contact    Nature of the claim Indicate if claim is                  Amount of unsecured claim
                          code                                                                                                  (for example, trade     contingent,      If the claim is fully unsecured, fill in only unsecured claim
                                                                                                                                 debts, bank loans,   unliquidated, or       amount. If claim is partially secured, fill in total claim
                                                                                                                               professional services,     disputed        amount and deduction for value of collateral or setoff to
                                                                                                                                  and government                                           calculate unsecured claim.
                                                                                                                                     contracts)
                                                                                                                                                                              Total claim, if     Deduction for value      Unsecured claim
                                                                                                                                                                             partially secured   of collateral or setoff


23   WILLKIE FARR & GALLAGHER LLP                                            Tel: (212) 728-8000                               Professional                                                                                   $388,386
     787 Seventh Avenue                                                  Email: tcerabino@willkie.com                          Services
     New York, NY 10019


24   GLOBAL TECH INC DBA : EGlobalTech,                                      Tel: (703) 652-0991                               Trade Vendor                                                                                   $364,697
     1515 WILSON BLVD                                                    Email: info@eglobaltech.com
     Suite 800 Arlington, VA 22209



25   FIRST INSURANCE FUNDING CORP                                           Tel: (800) 837-3707                                Insurance                                                                                      $359,672
     450 SKOKIE BLVD                                               Email: Csr@firstinsurancefunding.com
     SUITE 1000, Northbrook, IL 60062


26   TARTER KRINSKY & DROGIN LLP                                              Tel: (212) 216-8000                              Professional                                                                                   $350,154
     1350 Broadway                                                     Email: atarter@tarterkrinsky.com                        Services
     New York, New York 10018


27   SHARP ELECTRONICS CORP                                                   Tel: (201) 529-8200                              Trade Vendor                                                                                   $346,635
     100 PARAGON DRIVE                                                       Fax: (201) 529-8425
     MONTVALE, NJ 07645                                                  Email: tmorley@sharpsec.com


28   LIBERTY LIFE INS OF BOSTON                                             Tel: (617) 357-9500          Insurance                                                                                                            $340,897
     PO Box 2658                                                Email: Liberty.Support@LibertyMutual.com
     GROUP BENE
     FITS CAROL STREAM, IL 60132


29   ALIGHT HOLDING COMPANY, LLC                                             Tel: (224) 737-7000                               Trade Vendor                                                                                   $302,394
     DBA: ALIGHT SOLUTIONS LLC                                             Email: support@alight.com
     4 OVERLOOK POINT
     LINCOLNSHIRE, IL 60069

30   AMSIVE, INC                                                             Tel: (212) 661-8969                               Trade Vendor                                                                                   $296,250
     915 Broadway, Suite 501                                              Email: letstalk@amsive.com
     New York, NY 10010




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